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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF TEXAS
                                 DALLAS DIVISION

KENNETH MAGGIO & DARCY                      §
MAGGIO,                                     §
                                            §
        Plaintiffs,                         §
                                            §   CIVIL ACTION NO. 3:22-cv-01535
vs.                                         §
                                            §
LIBERTY INSURANCE                           §
CORPORATION,                                §
                                            §
        Defendant.

                                          EXHIBIT A

                 INDEX OF ALL DOCUMENTS FILED IN STATE COURT

        Pursuant to Local Rule 81.1(a)(4)(A), Defendant files the following index of all

documents filed in state court in support of its Notice of Removal:

EXHIBIT C:      Plaintiffs’ Original Petition (Filed 05/25/22)

EXHIBIT C-1: Citation Issued to Liberty Insurance Corporation (Issued 05/25/22))

EXHIBIT C-2: Plaintiffs’ Jury Demand

EXHIBIT C-3- Affidavit of Service (Filed 06/21/22)

EXHIBIT C-4 Liberty’s Answer to Plaintiffs’ Original Petition (Filed 07/07//22)




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